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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO: 02-10011-CR-KING


 UNITED STATES OF AMERICA,

 vs.

 RODOBALDO AVILA SANCHEZ,
                Defendant.
 __________________________________/


                                         STATUS REPORT

         The United States of America, through the undersigned Assistant United States Attorney,

 files this Status Report.

         By way of background, on February 22, 2002, a Grand Jury sitting in the Southern District

 of Florida returned an indictment charging the defendant with conspiracy to commit alien

 smuggling, in violation of Title 18, United States Code, Section 371(Count 1); and attempting to

 bring aliens into the United States in reckless disregard of the fact that such aliens had not received

 prior official authorization to come to, enter and reside in the United States, in violation of Title 8,

 United States Code, Section 1324(a)(2)(A) (Counts 2-31).

         On June 7, 2007, the defendant pled guilty to counts two, three, and four of the indictment

 by way of a plea agreement (DE:38). On August 22, 2002, the defendant was sentenced to a term

 of eighteen (18) moths’ imprisonment followed by a term of supervised release for one (1) year

 (DE:47). Following the defendant’s sentencing, counts one and five through fifty-one were

 dismissed. The defendant was ordered to surrender on October 23, 2002. The defendant failed to

 surrender on October 23, 2002. On October 29, 2002, an arrest warrant was issued for the defendant

 (DE:58). On March 20, 2009, the arrest warrant was executed and the was defendant was arrested
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 (DE:68). The defendant was transferred to the custody of the United States Marshals.

        At this time, there is no additional action that needs to be taken by this Honorable Court with

 regard to the defendant. The United States is currently investigating whether an additional charge

 can be filed against the defendant for failing to surrender on October 23, 2002.


                                                       Respectfully submitted,
                                                       R. ALEXANDER ACOSTA
                                                       UNITED STATES ATTORNEY



                                               By:       s/ Sharad A. Motiani
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on May 22, 2009, a copy of this pleading was filed via the Court’s

 electronic filing system.
                                                         s/ Sharad A. Motiani
                                                        Assistant United States Attorney




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